           Case 1:20-bk-11166-VK Doc 9 Filed 07/04/20 Entered 07/04/20 21:25:15                                             Desc
                               Imaged Certificate of Notice Page 1 of 2
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 20-11166-VK
Lanny Jay Dugar                                                                                            Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-1                  User: lfisherC                     Page 1 of 1                          Date Rcvd: Jul 02, 2020
                                      Form ID: pdf042                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 04, 2020.
db             +Lanny Jay Dugar,   20335 Ventura Blvd #422,   Woodland Hills, CA 91364-2455

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 04, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 2, 2020 at the address(es) listed below:
              David Keith Gottlieb (TR)   dkgtrustee@dkgallc.com, dgottlieb@iq7technology.com,
               rjohnson@dkgallc.com,akuras@dkgallc.com
              United States Trustee (SV)   ustpregion16.wh.ecf@usdoj.gov
                                                                                            TOTAL: 2
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                    Imaged Certificate of Notice Page 2 of 2
